
The Chancellor.
After a careful examination of this case, I feel constrained to deny the injunction. I do so from the facts as they appear by the bill and answer. The complainants’ title was sufficiently stated in the bill, and the objection that it is not set out in detail has no weight in my mind. The answer, too, although made by one of the defendants, must be received, at all events, as an affidavit. This answer shows a title in the defendants, clearly traced through the ancestor of the complainants. One of the complainants is stated *186to have been in possession as tenant of those claiming under the same title with the defendants. And it is further stated,, that not only the father of the complainants, but that the complainants themselves, or one of them, have admitted the Biddle' title, under whieh the defendants claim, and have never until lately claimed by any adverse title.
The possession, too, is alleged to be now in the defendants,, and to have been in them since they acquired title, and previous-thereto, in those under whom they claim. Without, therefore,, expressing or entertaining any opinion as to the merits of the title, or the result of the case at law, I am quite clear upon these facts, that I should not be justified in interposing the arm. of the court of chancery.
I have been led to this result by the particular circumstances-of this case, in which it is a source of some satisfaction to know that the defendants are able to respond at law.
I confess that the discussion before me, and the tracing of the English cases, has staggered my faith in the view which has been taken by some of my predecessors on this subject. Injunctions have repeatedly been granted in cases of mere trespass, and that, too, when committed under pretence of mere title. The complainant, by stating the injury to have been committed under allegation of title, does not state himself out of court, as to the injuntion. This kind of injury, too, by cutting timber on land where it constitutes its chief value, is an irreparable injury.
My embarrassment is not so much about the title as the possession. When this is claimed by the defendant, as well as the. title, and that too ■ in connection with the title, what right has-the court to interfere? To enjoin both parties until a trial is-had, must result in tying up all unimproved lands, about which' there is any dispute, from being enjoyed by their owners.
Injunction denied.
Cited in Manhattan Mfg. Co. v. N. J. Stock Yard Co., 8 C. E. G., 166.
